Case 0:17-cv-60426-UU Document 238-2 Entered on FLSD Docket 10/09/2018 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


    ALEKSEJ GUBAREV,
    XBT HOLDING S.A., and
    WEBZILLA, INC.                                                       Case No.
      Plaintiffs,
                                                                    0:17-cv-60426-UU
    v.

    BUZZFEED, INC. and
    BEN SMITH
      Defendants.


                  REPLY DECLARATION OF MATTHEW SHAYEFAR
           IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

   I, Matthew Shayefar, do hereby declare as follows:
          1.      My name is Matthew Shayefar. I am over the age of 18 years. I am an attorney
   licensed in the State of Florida, the State of California and the Commonwealth of Massachusetts.
   I am counsel of record to Plaintiffs in the above captioned action. I am familiar with the facts
   herein and make this declaration from my own personal knowledge.
          2.      Attached hereto as Rep. Ex. 1 is a true and correct copy of portions of the
   transcript of the deposition of Anthony J. Ferrante.
          3.      Attached hereto as Rep. Ex. 2 is a true and correct copy of portions of the
   transcript of the deposition of David Kramer.
          4.      Attached hereto as Rep. Ex. 3 is a true and correct copy of portions of the a
   document titled “Executive Session Permanent Select Committee Intelligence, U.S. House of
   Representatives, Washington D.C. Interview of: Glenn Simpson.”
          5.      Attached hereto as Rep. Ex. 4 is a true and correct copy of portions of the
   transcript of the deposition of Benjamin Smith.
          6.      Attached hereto as Rep. Ex. 5 is a true and correct copy of portions of the
   transcript of the deposition of Ken Bensinger.




                                                     1
Case 0:17-cv-60426-UU Document 238-2 Entered on FLSD Docket 10/09/2018 Page 2 of 2




          7.      Attached hereto as Rep. Ex. 6 is a true and correct copy of a document that I
   obtained from the URL https://www.itic.org/public-
   policy/SnapshotofDataLocalizationMeasures7-29-2016.pdf on October 9, 2018.
          8.      Attached hereto as Rep. Ex. 7 is a true and correct printout of an article that I
   obtained from the URL https://www.nytimes.com/2017/07/12/business/apple-china-data-center-
   cybersecurity.html on October 9, 2018.
          9.      Attached hereto as Rep. Ex. 8 is a true and correct printout of an article that I
   obtained from the URL https://www.reuters.com/article/us-india-payments-whatsapp/whatsapp-
   builds-system-to-comply-with-indias-payments-data-storage-norms-idUSKCN1MJ0IX on
   October 9, 2018.
          10.     Attached hereto as Rep. Ex. 9 is a true and correct printout of an article that I
   obtained from the URL
   https://www.livemint.com/Companies/xEAFZGZ9kOaMz6R4HIgwXK/Google-ready-to-
   comply-with-RBI-norms-for-payment-services.html on October 9, 2018.
          11.     Attached hereto as Rep. Ex. 10 is a true and correct printout of an article that I
   obtained from the URL https://themoscowtimes.com/articles/apple-to-store-users-personal-data-
   in-russia-report-49478 on October 9, 2018.
          12.     Attached hereto as Rep. Ex. 11 is a true and correct copy of documents produced
   by KGlobal in connection with this litigation, Bates stamped KGlobal_000575-76.


   Signed under the pains and penalties of perjury, this 9th day of October, 2018.


                                                         /s/ Matthew Shayefar
                                                         Matthew Shayefar, Esq.




                                                    2
